     Case 3:11-cv-00107-JLS-RBB Document 155 Filed 08/06/21 PageID.1867 Page 1 of 2
                                 UNITED STATES DISTRICT COURT
                                           Southern District of California
                            James M. Carter and Judith N. Keep United States Courthouse
                                             Office of the Clerk of Court
                                           333 West Broadway, Suite 420
                                         San Diego, California 92101-3806
                                                    (619) 557-6348
                                                    John Morrill
    Nicole Lennon-Fisher                           Clerk of Court
Chief Deputy of Administration                   www.casd.uscourts.gov




                llcv0107-JLS

      Dear Parties,

            I have been contacted by Judge Sammartino who presided over the above-
      mentioned case.

            Judge Sammartino informed me that it has recently been brought to her
     attention that while she presided over the case a family member owned stock in
     Pfizer Inc. Judge Sammartino was not aware of this financial interest at the time the
     case was pending. The matter was brought to her attention after disposition of the
     case. Thus, the financial interest neither affected nor impacted her decisions in this
     case. However, the financial interest would have required recusal under the Code of
     Conduct for United States Judges, and thus, Judge Sammartino directed that I notify
     the parties of the conflict.

            Advisory Opinion 71, from the Judicial Conference Codes of Conduct
     Committee, provides the following guidance for addressing disqualification that is
     not discovered until after a judge has participated in a case:

               [A] judge should disclose . to the parties the facts bearing on
               disqualification as soon as those facts are learned, even though that
               may occur after entry of the decision. The parties may then determine
               what relief they may seek and a court (without the disqualified judge)
               will decide the legal consequence, if any, arising from the participation
               of the disqualified judge in the entered decision.

            Although Advisory Opinion 71 contemplated disqualification after a Court of
     Appeals oral argument, the Committee explained "[s]imilar considerations would
     apply when a judgment was entered in a district court by a judge and it is later learned
     that the judge was disqualified."

     Page 1 of2
Case 3:11-cv-00107-JLS-RBB Document 155 Filed 08/06/21 PageID.1868 Page 2 of 2




       With Advisory Opinion 71 in mind, you are invited to respond to Judge
Sammartino's disclosure of a conflict in this case. Should you wish to respond,
please submit your response within thirty days of entry of this letter on the docket.
Any response will be considered by another judge of this court without the
participation of Judge Sammartino.

                                             Sincerely,/J
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                                             John Morrill
                                             Clerk of Court




Page 2 of2
